Case 4:20-cv-00192-DML-SEB Document 48 Filed 08/12/21 Page 1 of 1 PageID #: 147



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

PAULA HARRIS,                                  )
                                               )
                              Plaintiff,       )
                                               )
                         v.                    )     No. 4:20-cv-00192-DML-SEB
                                               )
VISSING LAW, LLC, et al.                       )
                                               )
                              Defendants.      )

         Order Directing Filing of Documents Authorizing Dismissal

      The court has been notified that the parties have agreed to a settlement of this

case. Therefore, all pending motions, if any, are now DENIED AS MOOT and all

previously ordered dates relating to discovery, filings, schedules, conferences, and

trial, if any, are VACATED.

      By December 31, 2021, counsel for the plaintiff shall file a motion to dismiss

this cause and submit an order for the court's signature ordering the dismissal of this

action or a stipulation of dismissal (consistent with the agreement of the parties).

Additional time to complete the execution of the settlement documents may be granted

if requested in writing before expiration of this period.

      So ORDERED.
       Date: 8/12/2021                       ____________________________________
                                                Debra McVicker Lynch
                                                United States Magistrate Judge
                                                Southern District of Indiana
Distribution:

All ECF-registered counsel of record via email generated by the court’s ECF system
